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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                              :   CHAPTER 7
                                                    :
SAMMY LEE CRUMBLEY, JR. and                         :   CASE NO. 13-69258 - MGD
VITA NORWOOD CRUMBLEY,                              :
                                                    :
                DEBTORS.                            :

                                    MOTION TO REOPEN CASE

         Nancy J. Gargula, United States Trustee for Region 21, pursuant to 11 U.S.C. § 350(b) and

Federal Rule of Bankruptcy Procedure 5010, respectfully requests that the Court reopen this case.

As cause, the United States Trustee respectfully shows as follows:

         1.     Sammy Lee Crumbley, Jr. and Vita Norwood Crumbley (“Debtors”) filed a Chapter

7 bankruptcy petition on September 2, 2013.

         2.     The Court closed Debtor’s chapter 7 case on December 18, 2013.

         3.     The United States Trustee wishes to reopen the Chapter 7 case because after

Debtors received their discharge and the case was closed, the United States Trustee received

notification that Debtors may be entitled to receive proceeds from a settlement resulting from an

undisclosed legal action which can be administered for the benefit of the bankruptcy estate.

         4.     It is essential that this case be reopened as quickly as possible so that the Chapter 7

trustee may investigate and collect the potential assets.

         5.     Upon information and belief, administration of this asset is expected to be

beneficial to Debtors’ creditors.

         6.     Bankruptcy Code section 350 authorizes the Court to reopen a case to administer

assets, to accord relief to the debtor, or for other cause.
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        7.      Federal Rule of Bankruptcy Procedure 5010 provides that a case may be reopened

on motion of the debtor or other party in interest.

        8.      The United States Trustee is a party in interest and has standing to raise, appear,

and be heard, on any issue in any case. 11 U.S.C. § 307.

        WHEREFORE, the United States Trustee respectfully requests that this Court enter an

Order: (i) reopening this Chapter 7 case to allow for the administration of the estate for the benefit

of creditors; (ii) directing the United States Trustee to appoint a chapter 7 trustee; and (iii) granting

such other and further relief as the Court may deem just and proper.

                                                        NANCY J. GARGULA
                                                        UNITED STATES TRUSTEE
                                                        REGION 21

                                                                      /s/
                                                        Lindsay P. S. Kolba
                                                        Georgia Bar No. 541621
                                                        United States Department of Justice
                                                        Office of the United States Trustee
                                                        362 Richard B. Russell Building
                                                        75 Ted Turner Drive, SW
                                                        Atlanta, Georgia 30303
                                                        (202) 360-7746
                                                        lindsay.p.kolba@usdoj.gov
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                                 CERTIFICATE OF SERVICE

         This is to certify that I have on this day electronically filed the foregoing Motion to Reopen
Case using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this
document and an accompanying link to this document to the following parties who have appeared
in this case under the Bankruptcy Court’s Electronic Case filing program.

Angela Little Hamilton         angelalham@yahoo.com,
                               HamiltonAR91835@notify.bestcase.com,
                               berniceagriffin@gmail.com
William J. Layng               blayng@wlaynglaw.com, sross@wlaynglaw.com
Janet G. Watts                 janet3870@att.net, jgw@trustesolutions.net

       I further certify that on this day, I caused a copy of this document to be served via United
States First Class Mail, with adequate postage prepaid, on the following parties at the address
shown for each.

 Sammy Lee Crumbley, Jr.                            Vita Norwood Crumbley
 794 Cormac Drive                                   794 Cormac Drive
 Riverdale, GA 30296                                Riverdale, GA 30296

                                                                      /s/
                                                       Lindsay P. S. Kolba
                                                       Georgia Bar No. 541621
                                                       United States Department of Justice
                                                       Office of the United States Trustee
                                                       362 Richard B. Russell Building
                                                       75 Ted Turner Drive, SW
                                                       Atlanta, Georgia 30303
                                                       (202) 360-7746
                                                       lindsay.p.kolba@usdoj.gov
